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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   Lexi Negin, Bar #250376
     Assistant Federal Defender
 3   801 I Street, 3rd. Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     CESAR FIGUEROA
 6
 7
 8                                 IN THE UNITED STATES DISTRICT COURT
 9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )               CASE NO. CR. S-09-194 FCD
                                           )
12                     Plaintiff,          )
                                           )               STIPULATION AND ORDER TO CONTINUE
13         v.                              )               STATUS HEARING AND TO EXCLUDE TIME
                                           )               PURSUANT TO THE SPEEDY TRIAL ACT
14   CESAR FIGUEROA,                       )
     MARCUS WILLIAMS,                      )
15                                         )
                       Defendants.         )
16   _____________________________________ )
17          It is hereby stipulated and agreed to between the United States of America through Jill Thomas,
18   Assistant U.S. Attorney, and defendants, CESAR FIGUEROA by and through his counsel, Lexi Negin,
19   Assistant Federal Defender, and MARCUS WILLIAMS by and through his counsel, Michael Hansen, that
20   the status conference set for Monday, July 26, 2010, be continued to Monday, September 13, 2010, at
21   10:00 a.m. The reason for this continuance is to allow defense counsel additional time to review discovery
22   with the defendants, to examine possible defenses and to continue investigating the facts of the case.
23          It is further stipulated that the time period from the date of this stipulation, July 22, 2010, through
24   and including the date of the new status conference hearing, September 13, 2010, shall be excluded from
25   computation of time within which the trial of this matter must be commenced under the Speedy Trial Act,
26   pursuant to 18 U.S.C. §§ 3161(h)(7)(B)(iv)and Local Code T4 [reasonable time for defense counsel to
27   prepare].
28                                                          1
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 1   DATED: July 22, 2010
 2
                          Respectfully submitted,
 3
 4   BENJAMIN B. WAGNER                                  DANIEL BRODERICK
     United States Attorney                              Federal Defender
 5
 6
      /s/ Lexi Negin for                                  /s/ Lexi Negin
 7   JILL THOMAS                                         LEXI NEGIN
     Assistant U.S. Attorney                             Assistant Federal Defender
 8   Attorney for United States                          Attorney for Cesar Figueroa
 9
                                                          /s/ Lexi Negin for
10                                                       MICHAEL HANSEN
                                                         Attorney for Marcus Williams
11
            IT IS SO ORDERED.
12
     DATED: July 22, 2010
13
14                                                  _______________________________________
                                                    FRANK C. DAMRELL, JR.
15                                                  UNITED STATES DISTRICT JUDGE
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